        Case 2:15-cv-01088-AKK Document 74 Filed 04/09/19 Page 1 of 1                  FILED
                                                                              2019 Apr-09 PM 04:44
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


BIRMINGHAM EMERGENCY                     )
COMMUNICATIONS DISTRICT,                 )
                                         )
      Plaintiff,                         )        Civil Action Number
                                         )        2:15-cv-01088-AKK
vs.                                      )
                                         )
LEVEL 3 COMMUNICATIONS,                  )
LLC AND LEVEL 3                          )
COMMUNICATIONS, INC.,                    )
      Defendants.                        )


                                    ORDER
      Consistent with the parties’ Joint Stipulation of Dismissal, doc. 73, the

court’s order of March 7, 2019, doc. 72, is REVISED to reflect that this action is

now DISMISSED WITH PREJUDICE. The parties bear their own costs.

      DONE the 9th day of April, 2019.


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                                              ABDUL K. KALLON
                                       UNITED STATES DISTRICT JUDGE
